Case 1:17-cv-00125-JTN-ESC ECF No. 63 filed 08/14/18 PageID.1057 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 LETICIA RUDOLPH,

         Plaintiff,
                                                                      Case No. 1:17-cv-125
 v.
                                                                      HON. JANET T. NEFF
 DANIEL T. BABINEC, et al.,

       Defendants.
 ____________________________/


                                             ORDER


        Pending before the Court is the parties’ Stipulated Proposed Order for Stay of Proceedings

(ECF No. 62). The Court having reviewed the stipulated proposed order and having concluded

that a stay of these proceedings is proper pending resolution of Defendants Daniel T. Babinec and

Robert A. Atkinson’s appeal to the Sixth Circuit Court of Appeals (ECF No. 60):

        IT   IS       HEREBY    ORDERED        that   this   matter   shall   be   STAYED       and

ADMINISTRATIVELY CLOSED until such time the appeal is resolved.

        IT IS FURTHER ORDERED that the August 16, 2018 motions in limine deadline, the

October 1, 2018 final pretrial conference and the October 16, 2018 jury trial are ADJOURNED

without date.

        IT IS FURTHER ORDERED that the parties shall file a Notice of Reopening Case, if

any, within fourteen (14) days of resolution of the appeal, which shall have the effect of reopening

this case.



Dated: August 14, 2018                                         /s/ Janet T. Neff
                                                             JANET T. NEFF
                                                             United States District Judge
